UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
________________________________________
In Re:

CORI DUVALL

                    Debtors,                             BK Case No.: 2-19-20179
________________________________________

CORI DUVALL
5550 County Road 30
Canandaigua, New York 14424

SSN: xxx-xx-2304                                         Adv. Proc. No.:
                     Plaintiffs,

        -against-

COUNTY OF ONTARIO, NEW YORK, and
“JOHN DOE” and “JANE DOE”, said names
 being fictitious, it being the intention of
Plaintiffs to name any third-party purchaser
of Plaintiffs’ home at 9097 County Road 14,
Honeoye Fall, NY 14472 during the property
tax foreclosure auction held by Ontario
County at 2914 County Road 48, Canandaigua,
NY 14424 at 7 p.m., May 17, 2017

                    Defendants
________________________________________


                    SUMMONS IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is
attached to this summons with the clerk of the bankruptcy court within 30 days after the date
of issuance of this summons, except that the United States and its offices and agencies shall
file a motion or answer to the complaint within 35 days.

Address of the clerk: US Bankruptcy Court, W.D.N.Y.
                           100 State Street
                           Rochester, NY 14614




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At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s
attorney.
Name and Address of Plaintiffs Attorney: The Legal Aid Society of Rochester
                                         Zachary J. Pike, Of Counsel
                                         1 W. Main St, Ste 800
                                         Rochester, NY 14614
                                         (585) 295-5784
                                         zpike@lasroc.org


 If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

 IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE
 DEEMED TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE
 BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN
 AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



 Date:_____________________                     _______________________________________
                                                 Lisa Bertino Beaser
                                                 Clerk of the US Bankruptcy Court




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